Case 1:14-ml-02570-RLY-TAB Document 19862 Filed 09/08/21 Page 1 of 7 PageID #:
                                 123300



                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                              Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                 MDL No. 2570



This Document Relates to Plaintiff

Charles H. Fowler


 Civil Case # 1:21-cv-06586


                 AMENDED COMPLAINT - SHORT FORM COMPLAINT


       COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document 213).

Plaintiff(s) further show the court as follows:

       1. Plaintiff/Deceased Party:

           CHARLES H. FOWLER

       2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

           claim:

           n/a

       3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):



       4. Plaintiff’s/Deceased Party’s state of residence at the time of implant:

           New Hampshire


                                                  1
Case 1:14-ml-02570-RLY-TAB Document 19862 Filed 09/08/21 Page 2 of 7 PageID #:
                                 123301



      5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

         New Hampshire

      6. Plaintiff’s/Deceased Party’s current state of residence:

         New Hampshire


      7. District Court and Division in which venue would be proper absent direct filing:

         United States District Court of New Hampshire

      8. Defendants (Check Defendants against whom Complaint is made):

             □X      Cook Incorporated

             □X      Cook Medical LLC

             □X      William Cook Europe ApS

      9. Basis of Jurisdiction:

             X
             □       Diversity of Citizenship

             □       Other:

         a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

                  Paragraph 6-28




         b. Other allegations of jurisdiction and venue:

         See Plaintiff’s original complaint




                                                2
Case 1:14-ml-02570-RLY-TAB Document 19862 Filed 09/08/21 Page 3 of 7 PageID #:
                                 123302



      10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

         (Check applicable Inferior Vena Cava Filters):

             X       Günther Tulip® Vena Cava Filter

             □X      Cook Celect® Vena Cava Filter
             □
             □      Gunther Tulip Mreye
              □
             □      Cook Celect Platinum
              □
                    Other:


      11. Date of Implantation as to each product:

         August 7, 2008



      12. Hospital(s) where Plaintiff was implanted (including City and State):

         Dartmouth-Hitchcock Medical Center, Lebanon, New Hampshire



      13. Implanting Physician(s):

         Dr. Anne Silas, MD




      14. Counts in the Master Complaint brought by Plaintiff(s):

             □X      Count I:        Strict Products Liability – Failure to Warn

             □X      Count II:       Strict Products Liability – Design Defect

             X
             □       Count III:      Negligence

             □
             X       Count IV:       Negligence Per Se

                                               3
Case 1:14-ml-02570-RLY-TAB Document 19862 Filed 09/08/21 Page 4 of 7 PageID #:
                                 123303



              □X     Count V:          Breach of Express Warranty

              □X     Count VI:         Breach of Implied Warranty

              □
              X      Count VII:        Violations of Applicable New Hampshire Law

                     Law Prohibiting Consumer Fraud and Unfair and Deceptive Trade

                     Practices

              □      Count VIII:       Loss of Consortium

              □      Count IX:         Wrongful Death

              □      Count X:          Survival

             □
             X       Count XI:         Punitive Damages

             □
             X        Other:                                (please state the facts supporting

                      this Count in the space, immediately below)

              □      Other:                                 (please state the facts supporting

                      this Count in the space, immediately below)

              Defendants Expressly and Impliedly warranted that the Cook IVC Filter was a

              permanent lifetime implant and downplayed the risks associated with

              migration, perforation, tilt, fracture, and other risk relied upon by the

              Plaintiff to his detriment. Plaintiff also incorporates all of the facts alleged in

              his original complaint.

      15. Attorney for Plaintiff(s):

         Monte Bond & Jessica Glitz

      16. Address and bar information for Attorney for Plaintiff(s):




                                                  4
Case 1:14-ml-02570-RLY-TAB Document 19862 Filed 09/08/21 Page 5 of 7 PageID #:
                                 123304



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                               Respectfully submitted,

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                                        5
Case 1:14-ml-02570-RLY-TAB Document 19862 Filed 09/08/21 Page 6 of 7 PageID #:
                                 123305



                                   CERTIFICATE OF SERVICE

          I hereby certify that on September 8, 2021, a copy of the foregoing was served
   electronically and notice of the service of this document will be sent to all parties by operation
   of the Court’s electronic filing system to CM/ECF participants registered to receive service in
   this matter. Parties may access this filing through the Court’s system. A copy of the foregoing
   was also served via U.S. Mail to the following non-CM/ECF participants


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                                                 6
Case 1:14-ml-02570-RLY-TAB Document 19862 Filed 09/08/21 Page 7 of 7 PageID #:
                                 123306



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                                            Respectfully submitted,

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                                             s/ Monte Bond
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                                      7
